     Case 3:14-cr-02576-WQH   Document 39    Filed 10/21/14   PageID.98   Page 1 of 1



                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 14CR2576-WQH

                       Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
BENIGNA VALDEZ (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information:

     21:952 and 960 Importation of Methamphetamine

     18:2 Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 10/21/14


                                            U.S. Magistrate Judge
